                                                                  Case 3:16-cv-00188-MMD-CLB Document 120 Filed 10/20/20 Page 1 of 3




                                                            1   MELANIE D. MORGAN, ESQ.
                                                                Nevada Bar No. 8215
                                                            2   NICHOLAS E. BELAY, ESQ.
                                                                Nevada Bar No. 15175
                                                            3   AKERMAN LLP
                                                                1635 Village Center Circle, Suite 200
                                                            4   Las Vegas, NV 89134
                                                                Telephone: (702) 634-5000
                                                            5   Facsimile: (702) 380-8572
                                                                Email: melanie.morgan@akerman.com
                                                            6   Email: nicholas.belay@akerman.com
                                                            7   Attorneys for Bank of America, N.A.
                                                            8                                 UNITED STATES DISTRICT COURT
                                                            9                                         DISTRICT OF NEVADA
                                                           10   BANK OF AMERICA, N.A.,                                  Case No.: 3:16-cv-00188-MMD-CLB
                                                           11                          Plaintiff,
              1635 VILAGE CENTER CIRCLE, SUITE 200
              TEL.: (702) 634-5000 – FAX: (702) 380-8572




                                                           12   vs.                                                     STIPULATION AND ORDER TO EXTEND
                                                                                                                        DISMISSAL DEADLINE
                     LAS VEGAS, NEVADA 89134




                                                           13   THE SIENA HOMEOWNER'S ASSOCIATION;
AKERMAN LLP




                                                                THUNDER     PROPERTIES, INC.;  and                      (SECOND REQUEST)
                                                           14   HAMPTON & HAMPTON COLLECTIONS,
                                                                LLC,
                                                           15
                                                                                       Defendants.
                                                           16

                                                           17

                                                           18            Bank of America, N.A. (BANA), Thunder Properties, Inc., and The Siena Homeowner's

                                                           19   Association (the HOA) (collectively "the parties"), submit the following stipulation to extend the

                                                           20   deadline to file dismissal documents:

                                                           21            1.    BANA, Thunder, the HOA, and Hampton & Hampton Collections, LLC reached a

                                                           22   settlement in principle to resolve this action, as indicated by the parties' joint status report on August

                                                           23   22, 2019. (ECF No. 110.) In order to finalize the proposed settlement, the parties needed to reach an

                                                           24   agreement on a few remaining issues—most notably the distribution of surplus funds from the

                                                           25   HOA's foreclosure sale being held by Hampton & Hampton Collections, LLC.

                                                           26            2.    To allow additional time to resolve these remaining issues, the parties requested the

                                                           27   court deny the pending summary judgment motion as moot, administratively close the case, and

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                                                            1   retain jurisdiction. (ECF No. 110.) The parties stated their intention to file a stipulation to dismiss

                                                            2   the litigation with prejudice once the parties had effectuated the proposed settlement agreement. (Id.)

                                                            3            3.    Following the administrative closure, the parties continued to work towards finalizing

                                                            4   the settlement; however, despite the undersigned parties' best efforts, the parties were unable to reach

                                                            5   an agreement as to the distribution of the surplus funds with Hampton.

                                                            6            4.    As a result, the undersigned parties had to recently restructure the proposed

                                                            7   settlement agreement, which impacted the parties' ability to file dismissal documents by the court's

                                                            8   original deadline.
                                                            9            5.    On September 18, 2020, the parties filed a status report and stipulation with the court.
                                                           10   The parties updated the court on the current status of settlement and requested additional time to
                                                           11   submit dismissal documents.
              1635 VILAGE CENTER CIRCLE, SUITE 200
              TEL.: (702) 634-5000 – FAX: (702) 380-8572




                                                           12            6.    Since the prior stipulation, the parties have continued to make significant progress
                     LAS VEGAS, NEVADA 89134




                                                           13   towards resolving this action. The parties have fully executed the restructured settlement agreement
AKERMAN LLP




                                                           14   and completed the majority of condition precedents to dismissal. Nonetheless, despite the parties'
                                                           15   best efforts, one condition precedent remains.
                                                           16            7.    The parties expect this matter to be resolved in the near term and respectfully request
                                                           17   the court extend the deadline to file dismissal documents by thirty (30) additional days. The parties
                                                           18   intend to file dismissal documents as soon as possible.

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                                                            1            8.    This is the parties' second request for an extension of this deadline and is not intended

                                                            2   to cause any delay or prejudice to any party.

                                                            3            DATED October 19, 2020.

                                                            4   AKERMAN LLP                                            ROGER P. CROTEAU & ASSOCIATES, LTD.
                                                            5
                                                                /s/ Nicholas E. Belay                                  /s/ Timothy E. Rhoda
                                                            6   MELANIE D. MORGAN, ESQ.                                ROGER P. CROTEAU, ESQ.
                                                                Nevada Bar No. 8215                                    Nevada Bar No. 4958
                                                            7   NICHOLAS E. BELAY, ESQ.                                TIMOTHY E. RHODA, ESQ.
                                                                Nevada Bar No. 15175                                   9120 West Post Rd., Ste. 100
                                                            8   1635 Village Center Circle, Suite 200                  Las Vegas, Nevada 89148
                                                            9   Las Vegas, NV 89134
                                                                                                                       Attorney for Thunder Properties, Inc.
                                                           10   Attorneys for Plaintiff Bank of America, N.A.

                                                           11   LIPSON NEILSON P.C.
              1635 VILAGE CENTER CIRCLE, SUITE 200
              TEL.: (702) 634-5000 – FAX: (702) 380-8572




                                                           12
                                                                /s/ Amber M. Williams
                                                                J. WILLIAM EBERT, ESQ.
                     LAS VEGAS, NEVADA 89134




                                                           13
                                                                Nevada Bar No. 2697
AKERMAN LLP




                                                           14   AMBER M. WILLIAMS, ESQ.
                                                                Nevada Bar No. 12301
                                                           15   9900 Covington Cross Dr., Ste. 120
                                                                Las Vegas, NV 89144
                                                           16
                                                                Attorneys for The Siena Homeowner's
                                                           17   Association

                                                           18                                                       ORDER
                                                           19            IT IS SO ORDERED.
                                                           20
                                                                                                                __________________________________
                                                           21                                                   UNITED STATES DISTRICT JUDGE
                                                                                                                Case No. 3:16-cv-00188-MMD-CLB
                                                           22
                                                                                                                         10/20/2020
                                                                                                                DATED: __________________________
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